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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

 LIGHTING SCIENCE GROUP
 CORPORATION,

          Plaintiff,

                  v.                                     Case No.: 6:17-cv-826-ORL-31-GJK

 LEEDARSON LIGHTING CO. LTD., and
 LEEDARSON AMERICA, INC.,

          Defendants.

                                        STATUS REPORT

          Plaintiff and Defendants in the above-captioned case provide notice, according to this

Court’s Order to stay (Dkt. No. 31), of the status of the current Appeal.

          Defendants in related cases, Nicor, Inc. (6:16-cv-413-ORL-37-GJK), Technical Consumer

Products, Inc. (6:16-cv-1255-ORL-37-GJK), and Amax Lighting (6:16-cv-1321-ORL-37-DAB)

filed their petitions for inter partes review of three patents-in-suit (“Amax IPRs”) on April 17, 2017,

which were instituted on November 1, 2017. Leedarson filed additional petitions for inter partes

review of the same three patents, which asserted the same grounds as those instituted by the Amax

IPRs. The PTAB granted Leedarson’s petitions and joined Leedarson’s IPR proceedings with the

respective Amax IPR proceedings. Final written decisions on the Amax IPRs were issued October

31, 2018, finding some claims invalid and confirming other claims, as set forth in the parties’ prior

status reports. On January 2, 2018, Petitioners in the Amax IPRs filed Notices of Appeal with the

Court of Appeals for the Federal Circuit. Appellants’ opening briefs are due on May 30, 2019, and

Appellee’s responsive briefs will be due 40 days following the filing of the Appellants’ opening

briefs.
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       Defendant Satco Products, Inc. (“Satco”) in another related case (6:16-cv-1256-ORL-37-

GJK) filed inter partes review petitions with the PTAB for the ’968 Patent and the ’844 Patent

(“Satco IPRs”) on June 19, 2017. On January 7, 2019, the PTAB issued final written decisions in

the two instituted Satco IPRs, finding some claims invalid and confirming other claims, as set forth

in the parties’ prior status reports. On March 11, 2019, Satco IPRs Notice of Appeal was docketed

with the Court of Appeals for the Federal Circuit.

       The Parties continue to engage in discussions regarding a possible resolution of these

matters but do not, at this time, request assistance from the Court to facilitate any such

discussions.

Dated: March 25, 2019

Counsel for Plaintiff                                Counsel for Defendants Leedarson Lighting
Lighting Science Group Corporation                   Co. Ltd., and Leedarson America, Inc.

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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this March 25, 2019, I filed a copy of the foregoing

document with the Clerk of the Court for the United States District Court for the Middle District

of Florida, Orlando Division using the CM/ECF system which will electronically notify all

counsel or parties of record.

                                             /s/ Dennis P. Waggoner
                                             Dennis P. Waggoner




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